Case 3:00-cr-00057-GMG-RWT Document 1453 Filed 12/16/09 Page 1 of 6 PageID #: 3637
Case 3:00-cr-00057-GMG-RWT Document 1453 Filed 12/16/09 Page 2 of 6 PageID #: 3638
Case 3:00-cr-00057-GMG-RWT Document 1453 Filed 12/16/09 Page 3 of 6 PageID #: 3639
Case 3:00-cr-00057-GMG-RWT Document 1453 Filed 12/16/09 Page 4 of 6 PageID #: 3640
Case 3:00-cr-00057-GMG-RWT Document 1453 Filed 12/16/09 Page 5 of 6 PageID #: 3641
Case 3:00-cr-00057-GMG-RWT Document 1453 Filed 12/16/09 Page 6 of 6 PageID #: 3642
